                IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


 LEARNING RESOURCES, INC., et al.,

                  Plaintiffs-Appellees,

 v.                                                 No. 25-5202

 DONALD J. TRUMP, President of the                  NOT YET SCHEDULED FOR
 United States, in his official capacity, et al.,   ORAL ARGUMENT

                  Defendant-Appellants.


            NOTICE OF PETITION FOR WRIT OF CERTIORARI
                        BEFORE JUDGMENT

       While this Court considers Plaintiffs’ request for an entry of an expedited

schedule that would permit argument on or before August 1, 2025, Plaintiffs hereby

notify the Court that they have filed a petition for a writ of certiorari before judgment

in the U.S. Supreme Court today. See Learning Resources, Inc., et al., Petitioners

v. Donald J. Trump, President of the United States, et al., No. 24-1287 (S. Ct.).

       The filing of that petition in no way affects the pending motion for expedition.

To the contrary, both the petition and our filings with this Court underscore the

urgency of speedy resolution of this appeal, whether in this Court and/or the

Supreme Court. This Court thus should enter the schedule proposed by Plaintiffs.

       Plaintiffs will immediately notify this Court of any action on the newly filed

petition.


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                    Respectfully submitted,

                    /s/ Pratik A. Shah
                    Pratik A. Shah
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                    Matthew R. Nicely
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                    Counsel for Plaintiffs-Appellees

June 17, 2025




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                    CERTIFICATE OF COMPLIANCE

      The foregoing notice is in 14-point Times New Roman proportional font and

contains 136 words, and thus complies with Federal Rule of Appellate Procedure

27(d)(1)-(2).




                                        /s/ Pratik A. Shah        .
                                        Pratik A. Shah
                         CERTIFICATE OF SERVICE

      I hereby certify that on June 17, 2025, I electronically filed the foregoing with

the Clerk of the Court of the U.S. Court of Appeals for the District of Columbia

using the appellate CM/ECF system.


                                                           /s/ Pratik A. Shah
                                                           Pratik A. Shah
